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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        No. 2:05-cr-0243 WBS CKD
12                      Respondent,
13           v.                                       ORDER
14   JARVIS MARQUES TUBBS,
15                      Movant.
16

17           Movant, a federal prisoner proceeding with counsel has filed a motion for leave to file a

18   third amended 28 U.S.C. § 2255 motion. Good cause appearing, IT IS HEREBY ORDERED

19   that:

20           1. Movant’s motion for leave to file a third amended 28 U.S.C. § 2255 motion is granted.

21           2. The Clerk of the Court is directed to file movant’s proposed third amended 28 U.S.C. §

22   2255 motion under its own docket heading.

23           3. Respondent is directed to file an answer within thirty days. Respondent shall include

24   with the answer any and all transcripts or other documents relevant to the determination of the

25   issues presented in the motion.

26   /////

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28   /////
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     Case 2:05-cr-00243-WBS-CKD Document 230 Filed 01/23/17 Page 2 of 2


 1          4. Movant’s traverse, if any, is due on or before thirty days from the date respondent’s

 2   answer is filed.

 3   Dated: January 23, 2017
                                                     _____________________________________
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                                                     CAROLYN K. DELANEY
 5                                                   UNITED STATES MAGISTRATE JUDGE

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